
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-052-CV



MICHAEL IRVIN	APPELLANT



V.



SHAWN VANDERGRIFT	APPELLEE



------------

FROM THE 16TH DISTRICT COURT OF DENTON COUNTY

------------

MEMORANDUM OPINION
(footnote: 1)
------------

Michael Irvin appeals from the trial court’s February 6, 2008 order providing for sanctions against Irvin’s attorney, Larry Friedman. &nbsp;On February 21, 2008, we notified the parties that we were concerned that this court lacks jurisdiction over this appeal because the order for sanctions did not appear to be a final judgment or an appealable, interlocutory order. &nbsp;We indicated that this case could be dismissed for want of jurisdiction if the parties did not show grounds for continuing the appeal by March 3, 2008. &nbsp;&nbsp;&nbsp;

By letter dated February 26, 2008, Irvin’s attorney, Carter Boisvert,
(footnote: 2) informed us that he filed a notice of appeal because he intended to appeal the sanctions order once a final judgment was rendered and later decided to request mandamus relief as well. &nbsp;Further, he agrees that this court cannot proceed with an appeal of the February 6, 2008 order until a final judgment is rendered. 	Accordingly, because the order dated February 6, 2008, is neither a final judgment nor an appealable interlocutory order,
(footnote: 3) we dismiss this appeal for want of jurisdiction.
(footnote: 4)
								PER CURIAM





PANEL A: &nbsp;CAYCE, C.J.; DAUPHINOT and MCCOY, JJ. 



DELIVERED: &nbsp;March 20, 2008

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.


2:Attorneys Friedman and Boisvert practice in the same law firm. 


3:See
 
Tex. Civ. Prac. &amp; Rem. Code Ann.
 § 51.014(a) (Vernon Supp. 2007) (listing interlocutory orders); 
Lehmann v. Har-Con Corp.
, 39 S.W.3d 191, 195 (Tex. 2001) (providing general rule that an appeal may be taken only from a final judgment); 
Byrd v. Byrd
, No. 02-07-00404-CV, 2008 WL 204511, at *1 (Tex. App.—Fort Worth Jan. 24, 2008, no pet.) (mem. op.) (dismissing appeal for want of jurisdiction because sanctions order is neither a final judgment nor an appealable interlocutory order). &nbsp;


4:See
 
Tex. R. App. P.
 42.3(a), 43.2(f).




